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                             UNITED STA TES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,

 v.                                                          Case No. 1 :21-cr-118-RCL

 ERIC GA VELEK MUNCHEL and
 LISA MARIE EISENHART,
      Defendants.


                                              ORDER

        In light of the Circuit's opinion remanding this Court's detention orders, see United States

v. Munchel, No. 21-3010, 2021 WL 1149196 (D.C. Cir. Mar. 26, 2021), and the government's

subsequent withdrawal of its motions for detention, see Notice of Withdrawal (ECF No. 59), the

Orders of Detention Pending Trial (ECF No. 25 & 26) are VACA TED.

        Accordingly, the defendants are ORDERED released into the custody of their respective

third-party custodians in accordance with the terms of the Orders Setting Conditions of Release

that accompany this order. Those orders impose all the conditions Magistrate Judge Jeffery S.

Frensley imposed in his original conditional release orders, including home detention, location

monitoring, and travel restrictions.   Additionally, the orders impose new conditions including

prohibitions on internet use and on contacting others involved in the events of January 6.

       Counsel for the defendants are ORDERED to obtain written acknowledgements from the

defendants of the conditions ofrelease and to docket those acknowledgements forthwith.

       Counsel for the defendants are FURTHER ORDERED to docket under seal notice of the

names and contract information for the third-party custodians approved by Magistrate Judge

Frensley and to provide that notice to Pretrial Services forthwith.
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        Counsel   for   the   defendants   are   FURTHER        ORDERED        to   obtain   written

acknowledgements from the third-party custodians of their obligations to (a) supervise the

defendant, (b) use every effort.to assure the defendant's appearance at all court proceedings, and

(c) notify the court immediately if the defendant violates a condition of release or is no longer in

the custodian's custody and to docket those acknowledgements under seal forthwith.

       The United States Marshals Service is ORDERED to process and release the defendants

forthwith.

       IT IS SO ORDERED.



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 Date: - - ~-      / t-1-- - -                                     Royce C. Lamberth
                                                                   United States District Judge




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